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     C. R. H., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child:  L.Q., and Concerning R.Q. No. 25SC142Supreme Court of Colorado, En BancApril 14, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA813
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      Petition for Writ of Certiorari DENIED.
    